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                         IN THE UNITED STATES DISTRlCT COURT
                       FOR THE MIDDLE DISTRlCT OF PENNSYLVANIA

  JOHN DOE,
                                Plaintiff,                                 Case No. 4: 15-cv-2072-MWB
            v.
                                                                           Judge: Matthew W. Brann
  THE PENNSYLVANIA STATE
  UNIVERSITY, ERlC BARRON, and                                             Complaint filed: 10/27/2015
  DANNY SHAHA,
.__ ___ ____ ______ ______________ P~K~!!~~~~~:______ _________ :_____ _l}!~~~~f!1J.~C:_,!!!y' _f!!~lJ. ___ _______ __ ____ _____ .
 JOHN DOE II,                                                              Case No. 4:15-cv-02108-MWB
                                Plaintiff,                                 Consolidated at
            vs.                                                            No. 4:15-cv-2072-MWB
                                                                           Judge: Matthew W. Brann
 THE PENNSYLVANIA STATE
 UNIVERSITY, ERlC BARRON and                                               Complaint filed: 1113/2015
 DANNY SHAHA,
______________________________ P_~K~!!~~~~~:____ _______ __ ___:__ ____ /}!~C:_~~f!1J.~C:_,!!!y' _fi!~lJ. ________ ___ ____ ______ .
                     STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41 (a)(1)(ii) of the Federal Rules of Civil Procedure, it is
 hereby stipulated and agreed by the parties hereto that any and all claims in the
 above-entitled action are hereby dismissed with prejudice. Each party shall bear its
 own costs.

 THE LAW OFFICE OF ANDREW                                            McQUAIDE BLASKO, INC.
 SHUBIN, .C ..

 By: __~~____~~______
       Andrew Shubi        squire
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 Dated:           J.. J I /ro                                       Dated: l ~ ~ I (   I             (b
